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15
                               UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA
                                    (OAKLAND DIVISION)
17

18
      IN RE: COLLEGE ATHLETE NIL                    Case No. 4:20-cv-03919-CW
19
      LITIGATION
                                                    OPPOSITION TO PLAINTIFFS’
20
                                                    AMENDED MOTION FOR
21                                                  PRELIMINARY APPROVAL OF
                                                    SETTLEMENTS ON BEHALF OF
22
                                                    CLASSES OF PAST, CURRENT
23                                                  AND FUTURE NCAA COLLEGE
                                                    ATHLETES
24

25                                                  Hon. Claudia Wilken

26

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     OPPOSITION TO PLAINTIFFS’ AMENDED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS ON BEHALF OF
                        CLASSES OF PAST, CURRENT AND FUTURE NCAA COLLEGE ATHLETES
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 1         I.      INTRODUCTION
 2              Pursuant to Fed. R. Civ. P. 23(e), Hausfeld LLP (“Hausfeld”), 1 on behalf of seven past,
 3   present, or future Division I college athletes (Liam Anderson, Jordan Bohannon, Kaira Brown,
 4
     Talanoa Ili, Ezekiel Larry, Dyson McCutcheon, and R.J. Sermons) (collectively, “Objectors”)
 5
     hereby files objections to multiple aspects of Plaintiffs’ Amended Motion for Approval of
 6
     settlements for three proposed amended Damage Classes (“DCS”) and for a proposed Injunctive
 7

8    Relief Class (“IRCS”) (collectively, “Settlements”). The particulars regarding each of the

 9   Objectors are described in Appendix A.

10              On September 5, 2024, this Court held a preliminary approval hearing on the Settlements.
11   It denied such approval, citing a number of concerns discussed herein that the present amendments
12
     do not explicitly address (including the conflict of interest created by having Class Counsel
13
     actively support the efforts of the National Collegiate Athletic Association (“NCAA”) to obtain
14
     federal legislation granting it antitrust immunity and preemption of state laws). Several of the
15

16   concerns underlying this objection were not raised by the parties before the Court and some are

17   based on disclosures or criticisms that surfaced after the hearing.

18              The Settlements involve illusory, contradictory and overreaching terms; approval of them
19
     should be denied. The damages for participants in the DCS are not 67.4% of actual damages for
20
     failure to compensate college athletes (sometimes referred to as “student-athletes”) for use of their
21
     Names, Images, and Likenesses (“NIL”), as Class Counsel claimed. ECF No. 450 at 8. Instead,
22
     based on NIL payments that actually have been made since 2021, that claim significantly
23

24

25   1
      Hausfeld is uniquely qualified to raise these objections. It was lead counsel for the class of college
     athletes in the seminal antitrust case that led the way to the creation of the current NIL market. See
26
     O’Bannon v. NCAA, 7 F.Supp.3d 955 (N.D. Cal. 2014), aff’d in part and rev’d in part, 802 F.3d
27   1049 (9th Cir. 2015), cert. denied, 580 U.S. 815 (2016).
                                                         1
28       OPPOSITION TO PLAINTIFFS’ AMENDED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS ON BEHALF OF
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 1   undercounts monetary losses for the eight-year DCS period. As for the IRCS, the claimed revenues
 2   contemplated to be shared are not, as Class Counsel now tout, the same as what professional
 3
     athletes receive. ECF No. 534 at 1, 7. Instead, in addition to being subject to an agreement that
 4
     violates federal and state laws (as opposed to collective bargaining), the revenue sharing is subject
 5
     to the absolute discretion of the NCAA and Division I colleges, excludes payments that should be
 6

 7   treated as revenue, is unfairly capped, and benefits unfairly the top college football and basketball

8    teams in the Power 5 conferences.

 9             Indeed, since the September 5 hearing, much has happened. One state has sued the NCAA
10   over the Settlements, 2 governors of five states have challenged it on behalf of Member Institutions
11
     (as defined below) in those states, 3 and the governor of Georgia issued an Executive Order fully
12
     allowing NIL payments to be made. 4 The Settlements ignore prior rulings of the Third Circuit and
13
     the National Labor Relations Board (“NLRB”) that college athletes can be deemed to be
14

15   “employees” for the purposes of the Fair Labor Standards Act (“FLSA”) 5 and the National Labor

16   Relations Act (“NLRA”). And the NCAA and Class Counsel have ignored economic studies and

17   articles by legal commentators--many issued after the preliminary approval hearing--that have
18
     raised concerns about the flaws of the arguments presented to the Court concerning the fairness of
19

20
     2
      See Compl. (Sept. 9, 2024) in State of South Dakota, et al. v. NCAA, 05-CIV-24-00033 (S. Dakota
21   Circuit Court Third Judicial Circuit) (alleging that the Settlement unfairly favors large universities
     and disfavors female competitors) (“SD Suit”) (attached as Appendix B).
22
     3
23     Letter by Governors of the States of Idaho, Montana, North Dakota, South Dakota and Wyoming
     to NCAA (Sept. 17, 2024) (“Governors’ Letter”) (attached as Appendix C).
24
     4
      Governor Brian Kemp, Exec. Order of Sept. 17, 2024, Regarding Fairness to Georgia’s Student-
25   Athletes in Compensation for their Name, Image, and Likeness (attached as Appendix D).
26   5
       Johnson v. NCAA, 108 F.4th 163 (3d Cir. 2024) (“Johnson”) (attached as Appendix E); Decision
27   and Direction of Election, Trs. Dartmouth Coll., No. 01-RC-325633 (NLRB Feb. 5, 2024)
     (“Dartmouth”), appeal pending (attached as Appendix F).
                                                         2
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 1   the Settlements. 6 These studies and commentaries have explained the illusory nature of the
 2   proposed revenue sharing plan in the IRCS.
 3
               At the hearing denying preliminary approval, the Court was acutely aware of and
 4
     concerned about the myriad problems raised by the Settlements’ proposal to eliminate NIL
 5
     Collectives as they presently exist. Objectors share those concerns, which have been amplified by
 6

 7   new information that has come out since the hearing concerning the economic impact of NIL

8    Collectives on the IRCS and the true value of that market for college athletes.

 9             Moreover, the Settlements’ treatment of future college athletes is also very troubling.
10   Future college athletes have a different interest than current college athletes and many members
11
     of the DCS. Yet, the Settlements seek to bind future college athletes to a ten-year contract that they
12
     played no role in negotiating, in a market that, but for the IRCS, would be unrestrained. Contrary
13
     to the best interests of future college athletes, the IRCS has united Class Counsel with Defendants
14

15   in a quest to deny the rights of such athletes by seeking to secure antitrust immunity and

16   preemption of state laws for the NCAA from the United States Congress that conflicts with Class

17   Counsel’s obligations.
18
               Since the hearing, legal scholars and accounting professionals have highlighted the
19
     numerous ways the Settlements violate basic tenets of collective bargaining, applicable antitrust
20

21

22   6
       See Professors J. Holden, M. Edelman, & M. McCann, (Still) Anticompetitive College Sports, 66
23   B.C. L. Rev. __ (Forthcoming 2025) (“Holden Article”) (attached as Appendix G); David Steele,
     NCAA Must Give Up Control To Reach Suitable NIL Settlement, Law 360 (Sept. 18, 2024) (“Steele
24   Article”)(attached as Appendix H); Yaman Desai, Proposed NIL Deal Leaves NCAA Antitrust
     Liability Door Open, Law 360 (Aug. 2, 2024) (“Desai Article”) (attached as Appendix I); Patrick
25   O’Rourke, NCAA Athlete Revenue Sharing, Scholarships & NIL Collectives by School (2024)
     (“O’Rourke Report”) (attached as Appendix J), prepared by Patrick O’Rourke, a Certified Public
26   Accountant who operates the website https://scholarshipstats.com/); Diana L. Moss & Jason Gold,
27   Federal Legislation, Not the NCAA Antitrust Settlements, Should Drive a New Model of College
     Sports (July 3. 2024) (“Moss-Gold Article”) (attached as Appendix K).
                                                         3
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 1   legal principles, and/or accounting guidelines. The antitrust laws do not permit the NCAA and the
 2   Power 5 conferences to band together to fix the compensation of college athletes without the
 3
     benefit of collective bargaining. Yet, that is precisely what they have sought to do here by
 4
     substituting one restraint (no pay at all for college athletes), with a slightly modified restraint
 5
     (capped pay achieved via unlawful cooperation among competitors).
 6

 7             In addition, the parties before the Court ignore the fact that the terms of the Settlements

8    violate federal law 7 and are directly contrary to numerous state NIL laws that protect the interests

 9   of college athletes.
10             Moreover, a primary goal underlying the Settlements is the NCAA’s desire to use them as
11
     a stalking horse to finally obtain the antitrust immunity it has long sought (and been denied) from
12
     the United States Congress. As noted above, however, the NCAA intends to use Class Counsel to
13
     jointly recommend such immunity with the blessing of this Court, despite the obvious conflict
14

15   thereby created. This is entirely unheard of in the history of sports antitrust litigation, particularly

16   given the utter and complete lack of any collective bargaining between the NCAA and college

17   athletes.
18
               The concerns raised in these complaints, orders, judicial decisions and articles will be
19
     discussed in this filing. Hausfeld’s clients also join in the objections raised by the plaintiffs in the
20
     Fontenot litigation (ECF No. 473).
21

22

23

24

25
     7
       See State of Tennessee and Commonwealth of Virginia v. NCAA, No. 3:24-CV-0003-DCLC-
26   DCP, 2024 WL 755528 (E. D. Tenn. Feb. 23, 2024) (“Tennessee Case”, attached as Appendix L)
27   (now filed on behalf of the states of Tennessee, Florida, New York, and Virginia, and the District
     of Columbia; see Am. Compl., ECF No. 52, attached as Appendix M)).
                                                         4
28       OPPOSITION TO PLAINTIFFS’ AMENDED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS ON BEHALF OF
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 1         II.      ARGUMENT
 2                  A. The Damages Amount In The DCS Is Too Low.
 3           Class counsel and their expert estimated that damages caused by the NCAA’s refusal to permit
 4
     college athletes to be compensated for use of their NIL was $2.694 billion for the period from June
 5
     15, 2016 to September 15, 2024—a period of over eight years. The DCS participants will receive
 6
     for that period $1.976 billion for their NIL damages and another $600 million in additional
 7

8    compensation, primarily for athletic services claims; the former figure was said by Class Counsel

 9   in their initial motion for preliminary approval to represent 67.4% of NIL damages. ECF No. 450

10   at 8.
11            There is reason to believe that the full amount of NIL damages during that eight-year period
12
     is significantly understated, as reflected in what happened in the real world commencing in 2021,
13
     when state laws encouraged the opening of the market for college athlete NILs and the NCAA
14
     began to permit compensation to college athletes for the use of them.
15

16               One source of data on this topic comes from Opendorse. According to its website, it “is the

17   leading athlete marketplace and NIL technology company, providing technology and services to

18   the athlete endorsement industry. We serve the full lifecycle of supporting athletes: educating,
19
     assessing, planning, sharing, creating, measuring, tracking, disclosing, regulating, listing,
20
     browsing, booking, and more.” 8
21
                 Each year, Opendorse does projections for the amount of such NIL compensation to college
22
     athletes. Its most recent publication on the topic, published in 2024, NIL At 3 – The Annual
23

24   Opendorse Report, available at https://biz.opendorse.com/wp-content/uploads/2024/07/NIL-AT-

25   3-The-Annual-Opendorse-Report-1.pdf. (attached as Appendix N). Page 3 of the Opendorse
26

27
     8
         https://opendorse.com/about/.
                                                         5
28       OPPOSITION TO PLAINTIFFS’ AMENDED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS ON BEHALF OF
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 1   Report lists its market projections going back to 2021-22 and continuing to Year 5 (July 1, 2025-
 2   June 30, 2026). The estimates for years 4 and 5 are based on data ending as of June 7, 2024. Here
 3
     is what they show:
 4

 5

 6

 7

8

 9
10

11

12
            If college athletes were eligible to receive such payments starting in 2016 and if the trend
13
     in the but-for world for NIL Collective spending from 2016 onward mirrored the actual trend from
14
     2021-24, then college athletes would have earned at least $6.4 billion from NIL Collectives from
15

16   2016-24, accounting for inflation. This $3.8 billion differential is not accounted for in the DCS.

17              B. The Revenue Sharing Cap In The IRCS Is Unlawful And Unsupported.

18          The cap on revenue sharing proposed by the Class Counsel and the NCAA is
19
     anticompetitive and has no pro-competitive justification. Specifically, the IRCS provides that
20
     future college athletes will share in a so-called “pool” of revenue earned each year by “Member
21
     Institutions”, which are defined as “any college, school, or university that is a member in any sport
22
     of NCAA Division I and/or a Conference Defendant, together with any entity owned, controlled,
23

24   funded, or operated by said college, school, or university (or any division or department thereof).”

25   ECF No. 535-2 at Article 1, Section 1(l). These institutions can operate as “marketing agents” for
26   college athletes. Id. Art 2, Section 2. The benefits pool is 22% of “Average Shared revenue”
27
     (capped at what is estimated to be $21 million per school) and may stay that way throughout the
                                                      6
28    OPPOSITION TO PLAINTIFFS’ AMENDED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS ON BEHALF OF
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 1   ten-year term of the injunction period. See id. Article 3, Section 1(f). Benefits to college athletes
 2   (including Alston awards, new athletic scholarships, proceeds of third party arrangements, and
 3
     other personal benefits) count against the Pool. Id. Article 3, Section 3.
 4
                        1. The Terms Of The IRCS Violate Applicable Federal Antitrust Law.
 5
            The terms of the IRCS on its face violate existing federal antitrust law. As Justice Brett
 6
     Kavanaugh said in his concurring opinion in Alston v. NCAA, 141 S.Ct. 2141, 2167-68 (2021)
 7

8    (“Alston”), “[p]rice-fixing labor is price-fixing labor. And price-fixing labor is ordinarily a

 9   textbook antitrust problem because it extinguishes the free market in which individuals can

10   otherwise obtain fair compensation for their work. …Businesses like the NCAA cannot avoid the
11   consequences of price-fixing labor by incorporating price-fixed labor into the definition of the
12
     product.” (Emphases added). The IRCS contemplates collusion among Division I schools and
13
     conferences. Thus, in order for it to function, a grant of antitrust immunity from the United States
14
     Congress is required, as discussed in Article 7, Section 1 of the provisions. Without such immunity,
15

16   the Settlements would be unlawful.

17           The myriad antitrust problems posed by the Settlements have been noted by legal

18   commentators who have been highly critical of it. For example, in the Steele Article referenced
19
     previously, Kate Roggio Buck, a partner at McCarter & English LLP and its NCAA compliance
20
     expert, was quoted as follows:
21
            It's like, Wow, big settlement, we're gonna pay athletes a lot of money, but we're
22          still gonna limit the fair market competition, essentially… They say they want
            athletes to be paid, they want athletes to be paid fair market value, they're
23
            supporting athletes and all of that, but it seems that they're trying to leave it to
24          themselves to decide what fair market value is.

25   In her view, the IRCS is nothing but a subterfuge because “[t]hat's the crux of all this in the first
26   place… There has to be a legitimate release of that control, and fair market has to truly mean fair
27
                                                      7
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 1   market.” Rather, “the NCAA is sending the message that it will operate as it always has: ‘We're
 2   going to repaint it. It's going to look completely different, but it's actually still the same structure.’”
 3
             Marc Edelman (“Edelman”), a law professor at Baruch College's Zicklin School of
 4
     Business, voiced similar concerns: “[s]imply trying to put new restraints into practice via
 5
     settlement that restrict free market competition for college athlete services, and that at the same
 6

 7   time are not collectively bargained, is not a viable path.”

8                        2. The Terms Of The IRCS Also Violate Applicable State Laws.

 9           It is well-settled that a federal settlement cannot trump contrary state laws. See, e.g., League

10   of Residential Neighborhood Advocs. v. City of Los Angeles, 498 F.3d 1052, 1055 (9th Cir. 2007)
11   (“LRNA”) (explaining that “[a] federal consent decree or settlement agreement cannot be a means
12
     for state officials to evade state law.”); Keith v. Volpe, 118 F.3d 1386, 1393 (9th Cir. 1997)
13
     (“Keith”) (holding that state officials “could not agree to terms which would exceed their authority
14
     and supplant state law.”). Here, the terms of the IRCS are directly contrary to numerous state laws
15

16   that expressly prohibit the limitations on NIL and NIL Collectives this Settlement seeks to impose.

17   See Appendix O (summarizing these state laws). Significantly, however, a federal settlement is

18   not part of the Constitution, nor is it a law of the United States to which the Constitution’s
19
     Supremacy Clause applies.
20
             The parties’ only proffered solution is to ask for “preemption of any state law existing
21
     before or as of the date of Final Approval in conflict with this Injunctive Relief Settlement.” ECF
22
     No. 535-2, Article 7, Section 1 of the ICRS. Should the Court decline to grant this request, the
23

24   IRCS is unlawful. Courts, including those in the Ninth Circuit, have repeatedly found that efforts

25   to override state laws through a settlement are improper and invalidate the terms of the settlement
26

27
                                                      8
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 1   agreement as unenforceable and/or void against public policy. 9 This is because such courts have
 2   long recognized the principle of comity as it applies to federal settlements and their applicability
 3
     to state law. Specifically, as the Ninth Circuit explained in LRNA:
 4
               By placing its imprimatur on the Settlement Agreement, the district court
 5             effectively authorized the City to disregard its local ordinances in the name of
               RLUIPA. Such judicial action is authorized only when the federal law in question
 6             mandates the remedy contained in the settlement. See Keith, 118 F.3d at
 7             1393 (“Under the Constitution, the district court could not supersede California's
               law unless it conflicts with any federal law.”). As summarized by the Seventh
8              Circuit: [U]pon properly supported findings that such a remedy is necessary to
               rectify a violation of federal law, the district court can approve a consent decree
 9             which overrides state law provisions. Without such findings, however, parties can
               only agree to that which they have the power to do outside of litigation.
10

11   498 F.3d at 1058 (emphasis in original).

12             This principle is significant here because several states have enacted laws that strictly

13   prohibit the NCAA, athletic conferences, and member schools from interfering in any respect
14   (including revenue sharing caps) with a college athlete earning NIL compensation and/or the
15
     existence of NIL Collectives. See Appendix O. Some of these states, expressly prohibit colleges
16
     and universities from providing NIL benefits, instead implicitly delegating such authority to NIL
17
     Collectives.
18
19                        3. There Is No Reasonable Basis For A 22% Cap.

20             Even if the terms of the IRCS had no such threshold antitrust problems, there is no sound

21   basis for a 22% figure with a cap of $21 million per school proposed by Class Counsel and the

22

23   9
       See LRNA, 498 F.3d at 1056 (finding “the Settlement Agreement…invalid and unenforceable
24   under state law” because the conduct sought to be remedied did not violate federal law yet
     attempted to circumvent state law by including language in the settlement agreement directly
25   contrary to state law); In re Smith, 926 F.2d 1027, 1029 (11th Cir. 1991) (explaining that
     settlements are void against public policy where they directly contravene a state or federal statute
26   or policy); Jackson Purchase Rural Elec. Co-op. Ass’n v. Loc. Union 816, 646 F.2d 264, 267 (6th
27   Cir. 1981) (“As the authorities cited above make clear, there is a strong presumption that
     agreements in violation of a statute will not be sanctioned by the courts”).
                                                         9
28       OPPOSITION TO PLAINTIFFS’ AMENDED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS ON BEHALF OF
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 1   NCAA; it is totally arbitrary. As noted in the Holden Article at 23, “as both the Fontenot complaint,
 2   and journalists Nicole Auerbach and Justin Williams observed, the 22 percent of revenue to be
 3
     shared with athletes is significantly less than the amount shared in professional sports that have
 4
     collective bargaining agreements in place.” (citing Nicole Auerbach & Justin Williams, What to
 5
     Know about House v. NCAA Settlement and a Historic Day for College Sports, The Athletic (May
 6

 7   24, 2024)) (attached as Appendix P) (emphases added); accord, Desai Article (“The cap is

8    significantly lower than the percentage of revenue dedicated to athletes in professional sports such

 9   as the NBA and NFL, both of which hover around 50%”). As explained below, Class Counsel’s
10   arguments to the contrary are incorrect and misleading. ECF No. 534 at 1, 7.
11
            As further noted in the Desai Article, “[i]n addition, the NCAA’s cap is tied to the average
12
     revenue of five autonomy conference schools. But the wide disparity in revenue generated by those
13
     universities will result in Southeastern Conference and Big Ten Conference schools, which make
14

15   the highest revenues, allocating far less than 22% of their revenue to college athletes. These

16   shortcomings will likely subject the NCAA to future antitrust liability.” The O’Rourke Report

17   indicates that 20 major schools will end up paying less than 20% of their revenue, with Ohio State
18
     paying the least (11%).
19
            Moreover, the solution proposed by the NCAA and accepted by Class Counsel is contrary
20
     to the resolution of competing tensions that Judge Clifton Corker addressed in the Tennessee Case
21
     at *5 (emphases added):
22

23          Fair market value may be equal to or less than the NIL deals student-athletes can
            currently receive after selecting a school. But without the give and take of a free
24          market, student-athletes simply have no knowledge of their true NIL value. It is this
            suppression of negotiating leverage and the consequential lack of knowledge that
25          harms student-athletes.”
26

27
                                                      10
28    OPPOSITION TO PLAINTIFFS’ AMENDED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS ON BEHALF OF
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 1          The proposed revenue sharing cap in the IRCS has other significant collateral
 2   consequences, none of which were agreed to by past, current or future NCAA athletes through a
 3
     collective bargaining process, as is typical when a revenue cap is imposed in professional football
 4
     or basketball. For example, Member Institutions and conferences can unilaterally reduce the
 5
     number of spots, the roster size, and the number of athletic scholarships available. ECF No. 535-
 6

 7   2 at Article 4, Section 1. Disputes regarding the compliance and validity of the IRCS must be

8    presented either to the Court or a special master appointed by the Court. Id. Article 6, Section 1.

 9   Indeed, even as to claims for violations of the IRCS, all disputes must be arbitrated and a Class
10   member must be represented by Class Counsel. Id. at Section 2.
11
                        4. The Proposed Revenue Sharing Is Illusory and Insufficient.
12
            The IRCS seeks to eliminate billions of dollars of guaranteed money that college athletes
13
     currently receive or will receive annually in direct payments from NIL Collectives and replace it
14
     with non-guaranteed funds that the NCAA, conferences, and schools have built into the Settlement
15

16   and are subject to numerous loopholes that would allow them to pay less or prohibit them from

17   paying at all. For example, the Settlements allow collusion among the NCAA, conferences, and

18   Member Institutions to reduce or prohibit compensation from the pool if circumstances or laws
19
     permit college athletes to collectively bargain. The Settlements’ language is so broad that it would
20
     allow such collusion regardless of whether college athletes even formed a union and regardless of
21
     who the employer is deemed to be.
22
            Significantly, the O’Rourke Report notes that the NCAA’s estimation of what constitutes
23

24   “revenue” for Division I schools does “not include direct or indirect school support, student fees

25   or unrecompensed (i.e., charitable) contributions to the athletic department from alumni.”
26   (Emphasis in original). Under the terms of the Settlements, almost all of the monies previously
27
     provided by NIL Collectives directly to college athletes, would qualify as uncounted charitable
                                                      11
28    OPPOSITION TO PLAINTIFFS’ AMENDED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS ON BEHALF OF
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 1   contributions to the athletic department from alumni excluded from the shared “pool.” This is
 2   because the NCAA has its own version of “Hollywood” accounting (i.e., the opaque or creative
 3
     set of accounting methods used by the film, video, television and music industry to budget and
 4
     record profits for creative projects).
 5
             This change is critical. The most recent Opendorse report cited earlier states at page 5 that
 6

 7   “NIL collectives continue to shape over 80% of the total NIL market. Their activity plays a vital

8    role in the recruitment and retention of college athletes and is heavily weighted toward Football

 9   and Men’s Basketball. Commercial compensation now makes up less than 20% of the total market,
10   with Women's Basketball leapfrogging Men’s Basketball for the first time.”
11
             Thus, the NCAA’s analysis of sports-based revenues severely undercounts the amount of
12
     them, even though these contributions for college athlete NIL payments are paid because of the
13
     notoriety that college athletes obtain by participating in their respective schools’ sporting events.
14

15   Moreover, the estimates from the O’Rourke Report for the 2025-26 year show that only the top 27

16   athletics departments would pay the $21 million maximum allowed amount to college athletes.

17          Future college athletes may well be worse off under the IRCS. The 2024 Opendorse report
18
     cited earlier estimates that the maximum amount that NCAA Division I schools could share with
19
     athletes in 2025-26 according to the Settlements would be $1.26 billion. Meanwhile, the NIL
20
     compensation is expected to reach $2.55 billion for college athletes in the same year, 80% of which
21
     comes from Collectives. If NIL Collective funding is restricted by the NCAA, college athletes will
22

23   have significantly reduced earning potential.

24           In addition, fixing the revenue sharing cap for ten years reduces flexibility for college
25   athletes to negotiate if market conditions change during that time. The college athletics market is
26
     quickly evolving, and the IRCS locks college athletes in for a long term with no opportunity to
27
                                                      12
28    OPPOSITION TO PLAINTIFFS’ AMENDED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS ON BEHALF OF
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 1   negotiate more earnings if conditions change. The same is not true of colleges, since there is no
 2   floor on payment; if the market evolved in such a way that the market price of labor decreases for
 3
     college athletes, that can be accommodated with the revenue cap, whereas an increase cannot.
 4
            Class Counsel assert that currently “many” college athletes may make a million dollars or
 5
     more annually pursuant to the IRSC. ECF No. 534 at 3. That is not good enough for a proposed
 6

 7   Division I-wide class action settlement if many more others are treated invidiously compared to

8    those in the Power 5 conferences. Although the Settlements give conferences and colleges the

 9   discretion to cut sports, the best interests of athletes would prohibit them from doing so. Class
10   counsel’s expert, Dr. Robert Klonoff, also fails to discuss to address these issues. See ECF No.
11
     536 at 31.
12
            The Court should decline to approve such an arrangement, which is particularly troubling
13
     for future NCAA college athletes. Indeed, the IRCS imposes no temporal limit for future college
14

15   athletes, while it simultaneously locks this currently unknown class into a system littered with

16   hurdles to the acquisition of their fair NIL market value.

17                      5. The Proposed Damages Payment Structure Is Unfair To Smaller
                           Member Institutions.
18
19          Commentators have noted that college athletes are not the only ones affected adversely by

20   the DCS. Colleges outside the Power 5 schools are treated unfairly pursuant to it. The O’Rourke

21   Report at page 6 confirms this point. It notes as follows (emphases added):
22          “Under the proposed $2.8 billion House settlement, the NCAA will pay $1.1 billion
23          directly from its reserve funds and the remaining $1.665 billion will be paid by
            schools via reduced NCAA income distributions over the next ten years. But the
24          proposed allocation of the amount due from schools is receiving some justified
            criticism. Under the proposal, Power conference schools will be responsible for
25          $675 million or about 40% and all other NCAA I schools will be responsible for
            $990 million or around 60%. The issue is that Power conference schools account
26          for over 80% of athletic revenues while all other D1 schools account for less than
27          20%. At first glance this appears inequitable, because as a percentage of annual
                                                      13
28    OPPOSITION TO PLAINTIFFS’ AMENDED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS ON BEHALF OF
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 1          revenue, non-power schools are paying about 6 times more of the House settlement
            than Power 5 schools….”
 2
     The report goes on to note at page 7 that “[t]he plaintiffs in House are all former Power conference
 3

 4   athletes, and it’s not unreasonable to argue that it appears non-Power conference schools are being

 5   asked to pay for more than their fair share. Allocating the settlement instead to match school or
 6   conference revenues would result in all NCAA I schools paying about 2% of their annual revenue.”
 7
            The adversely affected colleges realize this inequity and have taken action. The SD Suit
8
     alleges that “[n]o part of the Settlement[s], including financial components or the injunctive relief
 9
     fundamentally altering the NCAA’s structure, was presented to the full membership for a vote”
10

11   and that the decision to enter into the Settlements “violated the NCAA Constitution and, by

12   extension, the agreement between the NCAA and its member institutions.”

13          Likewise, in the Governors’ Letter, it was stated that:
14          Unfortunately, the proposed settlement is unfair for the colleges and universities in
15          our states. Generally speaking, NIL sponsorships tend to be more popular among
            the bigger athletic conferences and not the smaller ones. Additionally, as Big Sky
16          Conference Commissioner Tom Wistrcill recently noted, only Power Five
            conferences were parties to the lawsuit and participated in settlement negotiations.
17          Despite these facts, the proposed settlement puts programs in every state, including
            small and medium-sized programs in our states, on the hook for payment.
18
19              C. The IRCS Is Intended To Restrict Unfairly NIL Collectives.

20          The NCAA, pursuant to the IRCS, asks this Court to ignore economic and market realities

21   and permit the NCAA to gain control over a free market that it has no legal right to control. As

22   noted in the Tennessee Case, “in July 2021 when the NCAA’s Interim NIL Policy went into effect,
23
     [it] allow[ed] student-athletes to engage in NIL activity and to be compensated accordingly. This
24
     change created a market for student-athletes’ NIL, which quickly led to the creation of NIL
25
     collectives, e.g., ‘organizations created by alumni, boosters, or businesses with the purpose of
26

27
                                                      14
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 1   providing NIL opportunities to their school’s athletes.’” 2024 WL 755528, at *1 (emphases added)
 2   Collectives were popular and over 200 were created. Id.
 3
            The current economic reality in this recently-created market for use of college athletes NIL
 4
     is that thousands of NCAA college athletes in conferences of varying sizes across the country have
 5
     monetized their NIL through open competition in a free market that determines the value of their
 6

 7   respective NIL, without any cap or restriction. The current overall value of this market for college

8    athletes is stunning; they garner over $1 billion annually (and may garner at least $2.5 billion in

 9   the future) through NIL Collective deals alone. Their projected NIL earnings according to
10   Opendorse have been described in Section II. A, above.
11
            In view of the enormous funds currently and in the future that stand to be directly provided
12
     to college athletes via NIL Collectives, the IRCS serves as a blatant attempt by the NCAA to gain
13
     control of a free market they have no legal authority to control under the false premise of
14

15   “amateurism.” The NCAA seeks to end the opportunities created by NIL Collectives, so that

16   money from so-called “boosters” goes directly to colleges and universities. Thus, the NCAA

17   treated NIL collectives as “boosters” in guidance that it issued in May of 2022. Tennessee Case,
18
     2024 WL 755528, at *2. 10
19
            The Tennessee Case exemplifies the faulty thinking of the NCAA. At issue there was the
20
     fact that “[b]ecause the NCAA classifies NIL Collectives as boosters, any NIL discussions
21

22
     10
23      The May 2022 guidance was interim in nature. NCAA, Interim Name, Image and Likeness
     Policy          Guidance            Regarding         Third       Party         Involvement,
24   https://ncaaorg.s3.amazonaws.com/ncaa/NIL/May2022NIL_Guidance.pdf. (last visited Sept. 28,
     2024). In October of 2022, it was codified in NCAA bylaws. NCAA, NCAA Division I Institutional
25   Involvement in a Student-Athlete’s Name, Image and Likeness Activities (Oct. 26, 2022),
     https://ncaaorg.s3.amazonaws.com/ncaa/NIL/D1NIL_InstitutionalInvolvementNILActivities.pdf.
26   In June of 2023, the NCAA disseminated a “Q & A” sheet attempting to explain those bylaws.
27   https://mc97gsxn49y6wmpf4p2n764zq7z1.pub.sfmc-content.com/2ezhy1105pc. (last visited
     Sept. 28, 2024).
                                                      15
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 1   between collectives and student-athletes are considered impermissible inducements under the
 2   NCAA rules. Thus, student-athletes were prohibited from discussing potential NIL deals until they
 3
     commit to a particular school.” Id. at *2. The court enjoined implementation of the ban, saying
 4
     that such an agreement was facially anticompetitive and that any procompetitive justifications
 5
     could be achieved by less restrictive means. Id. at *3-4. So, the NCAA lacks the authority under
 6

 7   the antitrust laws to forbid conduct just because it attaches a particular derogatory label to such

8    conduct.

 9          On April 17, 2024, the NCAA changed course with revisions to its NIL guidance. 11 The
10   NCAA’s Division I Council unanimously adopted a proposal that now allows member schools to
11
     provide assistance in supporting NIL activities for college athletes who disclose NIL arrangements
12
     to their schools. Id. This new rule now allows schools to provide enhanced NIL support for college
13
     athletes, including facilitating deals between college athletes and third parties, as well as
14

15   identifying NIL opportunities for college athletes. However, the ban imposed on third partes was

16   not changed and remains enjoined.

17          That may also explain why the Governor of Georgia issued an Executive Order saying that
18
     “neither the NCAA, an athletic conference, nor any other organization with authority over
19
     intercollegiate athletics shall take any adverse action against a postsecondary educational
20
     institution in the State of Georgia for such institution facilitating compensation, offering
21
     compensation, or compensating an intercollegiate student-athlete for the use of such student-
22

23   athlete’s NIL….” (Emphases added). Such facilitation can and should include efforts by NIL

24

25

26   11
        See NCAA, DI Council Approves NIL Reforms, Permits School Assistance with NIL Activity
27   (Apr. 17, 2024), https://www.ncaa.org/news/2024/4/17/media-center-di-council-approves-nil-
     reforms-permits-school-assistance-with-nil-activity.aspx.
                                                      16
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 1   Collectives; indeed, the O’Rourke Second Report 12 identifies numerous colleges in the State of
 2   Georgia that received huge amounts of money from NIL Collectives in 2023-24, such as
 3
     Southeastern Conference member the University of Georgia, Atlantic Coast Conference member
 4
     Georgia Tech, and Georgia Southern and Georgia State.
 5
             Georgia’s action was preceded by adoption of a new law in Virginia on April 17, 2024,
 6

 7   where Governor Glenn Youngkin signed the nation’s first legislation providing Virginia’s college

8    athletes a private right of action against the NCAA, or any athletic conference, for interfering with

 9   a college athlete’s NIL rights. 13
10           Class Counsel attempt to justify this restriction on NIL Collectives by saying that the IRSC
11
     provides tens of billions of dollars in other benefits. ECF No. 534 at 2. But college athletes should
12
     not be forced to make this choice; they deserve the freedom to receive money from Collectives as
13
     well as colleges. And, as noted above, much of the alleged countervailing benefits may well be
14

15   illusory.

16           The IRCS seeks to solidify the NCAA’s control over the free market for college athletes’

17   NIL by permitting the NCAA to create systemwide and conference rules that “prohibit NIL
18
     payments by Associated Entities or Individuals (individually or collectively) of a Member
19
     Institution from entering into NIL licenses with or for the benefit of current or prospective student-
20
     athletes at a given Member Institution unless the license/payment is for a valid business purpose
21
     related to the promotion or endorsement of goods or services provided to the general public for
22

23   profit, with compensation at rates and terms commensurate with compensation paid to similarly

24

25   12
       Patrick O’Rourke, NIL Collectives – NCAA Athlete Revenue Sharing, Scholarships, NIL
     Collectives by School (2024) (O’Rourke Second Report”) (attached as Appendix Q).
26
     13
27        See 2024 Virginia House Bill No. 1505 (Adopted Apr.                                17,    2024),
     https://legacylis.virginia.gov/cgi-bin/legp604.exe?241+ful+CHAP0837+pdf.
                                                      17
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 1   situated individuals with comparable NIL value who are not current or prospective student-athletes
 2   at the Member Institution” ECF No. 535-2, Article 4, Section 3 (emphases added).
 3
            Class Counsel argue that this language in the amended IRCS greatly narrows the language
 4
     in the original IRCS by eliminating the term “booster” and replacing it with the allegedly much
 5
     narrower phrase “Associated Entities or Individuals of a Member Institution.” They say that “[a]s
 6

 7   part of the settlement compromise, the injunctive settlement does not prohibit the NCAA from

8    continuing its existing rules that prohibit certain affiliated third parties from making ‘pay for

 9   Play’ payments that are contingent on an athlete coming to or continuing enrollment at a particular
10   school, even if they are facially characterized as NIL payments.” ECF No. 534 at 8.
11
             To begin with, this attempt to expunge the term “booster” from the IRCS only creates
12
     more confusion when it is compared with the use of that term in the DCS (to which the IRCS is an
13
     appendix) and the NCAA’s “2024 Agreed-Upon Procedures” (incorporated by reference in the
14

15   IRCS and appended to that document). The DCS defines “Related Injunctive Relief NCAA &

16   Conference Rules”, which contain prohibitions on “Boosters (individually or collectively)” and

17   releases any claims DCS members may have based on those rules. ECF No. 535-2, DCS at Section
18
     A (pp) & (“qq”). Similarly, the NCAA’s “2024 Agreed-Upon Procedures” refer repeatedly to
19
     provisions concerning “boosters.” ECF No. 535-2 at 89, 91, 92, 93, 126.
20
            More importantly, the phrase “Associated Entities or Individuals of a Member Institution.”
21
     is one created specifically for this case and is not defined in any of the NCAA’s existing guidance
22

23   or bylaws. It is not found in the “2024 Agreed-Upon Procedures,” nor is it mentioned in the 2022

24   guidance. The term “pay-for-play” is not self-explanatory and could be interpreted by the NCAA
25   to encompass third parties (like NIL Collectives) other than those operating as shills for Member
26
     Institutions. Indeed, the definition acknowledges that there are entities whose primary purpose is
27
                                                      18
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 1   to create NIL deals for prospective and current college athletes based on their status at a particular
 2   college. The IRSC would ban all NIL payments based on the purpose of collectives which is to
 3
     provide NIL deals based on athletes’ status at a particular college.
 4
            Another phrase that Class Counsel newly created for this case in their amended approval
 5
     motion is the term “ ‘faux’ NIL.” ECF No. 534 at 1-3, 10. That is not a term utilized before by the
 6

 7   NCAA and its meaning in the present context is unclear at best. If it is intended to be a synonym

8    for “pay-to-play”, that is precisely what revenue sharing with college athletes is.

 9          As the states’ actions demonstrates, the parties to the IRCS have no authority to prevent
10   NIL Collectives from working with or paying college athletes directly. The NCAA’s goal is to
11
     have donors to NIL Collectives make contributions directly to the schools, rather than to the NIL
12
     Collectives. As explained in a note on methodology used to create the O’Rourke Report, “Schools
13
     and collectives are competing for the same dollars – both are asking the same donors for
14

15   contributions to the same cause: supporting the school’s athletic programs.” 14 (Emphases

16   added).

17             The IRCS is intended to allow the NCAA to eliminate that competition by requiring that it
18
     and Member Institutions have complete control over how much of donor funds are allocated to
19
     NIL compensation. It can choose to treat those donations as non-revenue for purposes of revenue
20
     sharing with college athletes. Schools can also use those donations to pay their required share,
21
     rather than treating them as additional funds available to compensate for NIL use. Or schools can
22

23   divert these donations for uses unrelated to NIL, such as building more elaborate stadiums or

24   inflating the salaries paid to coaches. Competition for donor dollars helped fuel the prices paid for
25   use of NIL. The ICRS is intended to snuff out such competition.
26
     14
27     Patrick O’Rourke, Methodology, https://nil-ncaa.com/methodology/ (last visited Sept. 28.
     2024).
                                                      19
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 1          Indeed, the Holden Article advocates the “true free market” approach, which is similar to
 2   what was envisioned by the court in the Tennessee Case. Holden describes the four advantages of
 3
     this approach at page 30, as:
 4
            The true free market approach is a superior way for allocating college sports
 5          revenue to the athletes than the proposed House settlement approach for at least
            four different reasons. First, to the extent one believes that the fair market price is
 6          the free market price, all college athletes under the free market approach would
 7          receive their ‘fair’ wage and not some wage designated through ad hoc
            mechanisms. Second, a true free market approach would obviate NCAA member
8           colleges’ potential liability under federal antitrust law because schools would no
            longer be colluding to fix athlete salaries and thus presumably not run afoul of
 9          Section 1 of the Sherman Act. Third, the free market approach would obviate any
            moral dilemmas in terms of determining how much each athlete deserves for their
10          services as, in a free market system, such subjective judgments are replaced by
11          principles of supply and demand. Fourth, unlike the proposed House settlement
            system, the free-market approach would not require special judicial oversight to
12          ensure NCAA member school compliance.”

13   (Emphases added).
14              D. The NCAA Is Using The Settlements As A Stalking Horse For Federal
15                 Legislation Granting It Antitrust Immunity And State Law Preemption.

16          There is no economic policy or principle of antitrust law that would permit the NCAA and

17   the defendant Power 5 conferences to band together to price fix the compensation of college
18   athletes without the benefit of collective bargaining as they have sought to do so here via the terms
19
     of these litigation Settlements. The NCAA recognizes that the only way the terms of the
20
     Settlements are enforceable is via a determination by Congress that the agreements therein are
21
     immune from antitrust exposure. That is why the NCAA has repeatedly sought such immunity
22

23   from Congress. Therefore, in Article 7 Section 1 of the DCS and Article 6, Section 3 of the IRCS

24   (ECF No. 535-2), the NCAA says that it will request, and that Class Counsel are agreeing to

25   support, efforts to have the United States Congress grant antitrust immunity under federal law and
26   preemption of conflicting state law.
27
                                                      20
28    OPPOSITION TO PLAINTIFFS’ AMENDED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS ON BEHALF OF
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 1          Associations of professional athletes addressed this topic in early 2024, telling Congress
 2   that any legislation to protect college athletes’ NIL rights “should simply prohibit the NCAA and
 3
     other related entities from denying athletes the right to profit from their NIL, consistent with
 4
     existing laws, as a condition of their athletic participation,” prohibit lifetime NIL contracts, and
 5
     prohibit contracts that entitle third parties to receive a percentage of a college athlete’s future
 6

 7   earnings in college or beyond. 15 The professional athlete associations underscored the point that

8    “[e]nactment of even the most player-friendly NIL regulations imaginable will represent an

 9   entirely pyrrhic victory if lawmakers simultaneously nullify athletes' rights under antitrust laws,
10   labor laws, or any other federal or state laws that protect other adults in the American workforce.”
11
            The NCAA is not heeding this advice. As noted in an article by Steve Berkowitz, Two U.S.
12
     House members introduce bill that would grant NCAA legal protection, USA Today (May 8, 2024)
13
     (attached as Appendix R), the most recent NCAA immunity legislation proposed by its supporters
14

15   in Congress--the “Protect the Benefits for Athletes and Limit Liability Act of 2024”, H.R. 8304,

16   118th Cong. (2023, reintroduced in 2024) 16—is quite broad:

17          Two members of the U.S. House of Representatives on Wednesday introduced a
            bill that would give the NCAA, conferences and colleges the type of protections
18
            from lawsuits that they have been seeking as part of legislation aimed at creating
19          federal rules regarding athlete compensation and other college-sports matters. The
            move by Rep. Russell Fry (R-S.C.) and Rep. Barry Moore (R-Ala.) comes against
20          the backdrop of ongoing efforts to settle a set of lawsuits against the NCAA and
            major conferences that are seeking billions of dollars in damages and challenging
21          the association’s remaining rules regarding athlete compensation.
22

23

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     15
        Players Associations’ Joint Statement On Legislation Affecting the Rights of College Athletes
25   (Jan. 18, 2024) (attached as Appendix S).
26   16
       Protect the Benefits for Athletes and Limit Liability Act of 2024, H.R. 8304, 118th Cong. (2023),
27   https://www.congress.gov/bill/118th-congress/house-bill/8304/text/ih?format=txt (last visited
     Oct. 1, 2024).
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 1           Significantly, any future rule changes or modifications of the IRCS do not require
 2   submission to the Court--only that Class Counsel get to review and provide approval. See, e.g.,
 3
     Section 3(d) of the IRCS. This underscores the built-in mechanism Class Counsel and NCAA seek
 4
     to use to propose to Congress that its desire for legislative antitrust immunity is ostensibly blessed
 5
     by this Court.
 6

 7           A grant of legislative antitrust immunity for the NCAA on the basis of the Settlements will

8    have significant adverse effects on current and future college athletes. For example, without the

 9   benefit of collective bargaining and with a grant of immunity, the NCAA would be permitted to
10   neglect issues concerning the health and safety of college athletes (its original mission), and
11
     academic concerns with impunity. The contractual requirement that Class Counsel support such
12
     legislation, despite the recommendations of such bodies as professional player associations is a
13
     clear conflict of interest.
14

15               E. The NCAA Is Also Using The IRCS To Promote Legislation Denying
                    Employee Status To College Athletes.
16
             The IRCS is also being used by the NCAA as a stalking horse to promote federal legislation
17
     to deny college athletes the status of employees. Indeed, the IRCS says in Article 7 that Class
18
19   Counsel must be neutral in all forums “on the issue of whether student-athletes should be

20   considered/deemed ‘employees’ or whether collective bargaining should be permitted for

21   compensation of student-athletes.”
22           The NCAA’s concerns about college athletes being treated as “employees” is obvious. This
23
     momentous change may arrive soon. In Johnson, the Third Circuit said that “for the purposes of
24
     the FLSA, we will not use a ‘frayed tradition’ of amateurism with such dubious history to define
25
     the economic reality of athletes’ relationships to their schools… Accordingly, we also hold that
26

27   college athletes cannot be barred as a matter of law from asserting FLSA claims simply by virtue
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 1   of a ‘revered tradition of amateurism’ in D-I athletics.” 108 F.4th at 182. The Third Circuit thus
 2   ruled that:
 3
             We therefore hold that college athletes may be employees under the FLSA when
 4           they (a) perform services for another party, (b) “necessarily and primarily for the
             [other party's] benefit,” (c) under that party's control or right of control, and (d) in
 5           return for “express” or “implied” compensation or “in-kind benefits,” If so, the
             athlete in question may plainly fall within the meaning of “employee” as defined in
 6           29 U.S.C. § 203(e)(1). Ultimately, the touchstone remains whether the cumulative
 7           circumstances of the relationship between the athlete and college or NCAA reveal
             an economic reality that is that of an employee-employer.
8
     Id. at 180 (citations and footnote omitted).
 9
             In addition, the NLRB in Dartmouth explicitly cited O’Bannon to find that college athletes
10
     could be viewed as employees: “[i]n O’Bannon, the Ninth Circuit explained that ‘the modern legal
11

12   understanding of “commerce” is broad’ and, therefore, ‘encompasses the transaction in which an

13   athletic recruit exchanges his labor and NIL rights for a scholarship at a Division I school because
14   it is undeniable that both parties to that exchange anticipate economic gain from it.’” Dartmouth
15
     at 17. The Dartmouth case is now on appeal. A similar challenge has been raised by the NLRB
16
     against USC, the Pac-12 and the NCAA that is ongoing.
17
             The IRCS is completely vague about what happens to the relief set forth in it if Johnson
18
19   and Dartmouth become the law of the land and that puts the future college athletes at some real

20   risk. Indeed, as Edelman noted in the Steele Article, “It’s a legal impossibility to simultaneously

21   avoid both antitrust law and labor law….The NCAA, however, attempted that ‘legal impossibility’
22   when it imposed certain restrictions on its athletes’ NIL as part of the settlement, even though the
23
     athletes and their attorneys agreed to them in the deal, he added.” Id. (emphases added). Edelman
24
     went on to note:
25
             What the NCAA wants here is for lawyers representing a class of plaintiffs to agree
26           to a salary cap without formulating a collective bargaining unit that could negotiate
27           over that topic moving forward…So in essence, this proposed settlement would
                                                      23
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 1           continue to expose the NCAA to very serious antitrust liability. And while both
             sides tried to push through the settlement, Judge Wilken astutely saw that problem.
 2
             The NCAA is therefore seeking to use the IRCS as a means to convince Congress to enact
 3

 4   legislation forbidding such a result. See, e.g., Michael McCann, Congress To Consider Bill

 5   Declaring College Athletes Are Not Employees, Sportico (June 12, 2024) (attached as Appendix
 6   T). Indeed, Congress is considering a bill--H.R. 8534, the Protecting Student Athletes’ Economic
 7
     Freedom Act of 2024, which would deny college athletes the opportunity to be declared employees
8
     of their respective colleges. 17
 9
             The NCAA and the Power 5 strongly endorse this legislation and have tied it to the
10

11   Settlements: “NCAA president Charlie Baker hopes that reaching an agreement with attorneys for

12   players to settle three antitrust cases…will earn the NCAA goodwill in Congress.” Id. Similarly,

13   “[i]n a statement released to the media Wednesday, the Power Five conferences urge the committee
14   to support H.R. 8534. ‘Protecting student-athletes’ status as students, not employees, is vital for
15
     preserving athletic and educational opportunities,’ the conferences insist. ‘Categorizing student-
16
     athletes as employees of their institutions would cause harm to the future viability of many college
17
     sports programs, particularly women’s and Olympic sports.’” Id.
18
19           However, if the NCAA is unwilling to abate its efforts to control the free market for college

20   athletes’ NIL, it could, and should, alternatively take the obvious step--recognize college athletes

21   as employees, and bargain collectively with them. This option too presents numerous benefits,
22
     including the point as summarized in the Holden Article at page 32 that “the labor union approach
23
     would almost certainly produce a collectively bargained solution insulated from antitrust scrutiny
24
     based on the ‘non-statutory labor exemption from antitrust law’….”
25

26
     17
27      Protecting Student Athletes’ Economic Freedom Act of 2024, H.R. 8534, 118th Cong. (2023),
     https://www.congress.gov/bill/118th-congress/house-bill/8534/text. (last visited Sept. 28, 2024).
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 1      III.      CONCLUSION
 2             In sum, the Settlements go too far, offer too little, present too many contradictions, and
 3   should be rejected by this Court. As noted in the Moss-Gold Article, they “emerged from a process
 4
     and incentives that are ill-suited to preserving the worthy goals, sorting through the complex
 5
     policies, and addressing the many stakeholders that define the college sports enterprise.”
 6
               They conclude that “[t]he settlement in House v. NCAA will ultimately land in the hands
 7

8    of a district court judge that must approve it under the Federal Rules of Civil Procedure as fair,

 9   reasonable, and adequate. At the Progressive Policy Institute (PPI) [a Democratic think tank] we

10   strongly encourage the judge to reject the settlement, at least in its current form.” The Objectors
11   agree. Unlike Moss and Gold, however, the Objectors do not think the better solution is to divert
12
     the matter to Congress; a judicial resolution is advisable here.
13
               In any event, the present Settlements should not be approved.
14

15

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     Dated: October 3, 2024                                 /s/ Michael P. Lehmann
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 1                                                      *Pro Hac Vice forthcoming.
 2                                                      Counsel for Objectors
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